          Case 1:18-cv-00415-RP Document 116 Filed 01/14/19 Page 1 of 7



                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE WESTERN DISTRICT OF TEXAS
                                      AUSTIN DIVISION

UBEO BUSINESS SERVICES, LLC,                       §
                                                   §
               Plaintiff,                          §
                                                   §
v.                                                 §                  1:18-CV-415-RP
                                                   §
DOCUMATION, INC., formerly known as                §
DOCUMATION OF SAN ANTONIO,                         §
LEWIS BULLION, CORDRY RANEY,                       §
CHASE OUTEN, ZACHARY MAHAN,                        §
KIMBERLY BALL, DAVID JONES,                        §
and JASON DUVAL,                                   §
                                                   §
               Defendants.                         §

                                              ORDER

       Before the Court is Plaintiff UBEO, LLC’s (“UBEO”) Motion to Enforce Settlement

Agreement. (Dkt. 105). Having considered the parties’ briefs, the evidence, and the relevant law, the

Court finds that the motion should be denied.

                                        I. BACKGROUND

       This case relates to the use of a trade name after the business divorce between UBEO and

Defendant DOCUmation, Inc., formerly known as Documation of San Antonio (“DOCUmation”).

UBEO sells, leases, and services office equipment and systems, such as copiers, printers, technical

support services, and equipment maintenance. The individual defendants were members of UBEO’s

management and sales force who had geographic responsibility for UBEO’s customer bases in

North and East Texas. In April 2018, individual defendants begin leaving UBEO. UBEO learned

that DOCUmation began holding itself out as “DOCUmation” in the North and East Texas copier

markets, and UBEO claimed that name was widely known in the North and East Texas markets as

the same trade name used by UBEO. UBEO filed its complaint on May 16, 2018 against

DOCUmation and former UBEO employees. (Compl., Dkt. 1; Am. Compl., Dkt. 16). UBEO


                                                  1
            Case 1:18-cv-00415-RP Document 116 Filed 01/14/19 Page 2 of 7



alleges that in April and May of 2018, the individual defendants abruptly terminated their

employment with UBEO and went to work for DOCUmation.

                                        A. The Settlement Agreement

         After litigating in this Court, the parties agreed to mediate settlement discussions, which

resulted in a settlement agreement (the “Agreement”). (See Stipulation of Dismissal, Dkt. 101).

Specifically, the parties agreed to a geographic restriction on DOCUmation’s use of the

DOCUmation trade name in certain counties. Section 1 provides:

         Documation . . . and all those in privity or acting in concert with them, shall
         absolutely and in all respects immediately refrain for any reason or any purpose
         whatsoever, from using, directly or indirectly, the trade or service names
         “Documation”, “DOCUHOU”, and “DOCUDFW” or any name likely to cause
         confusion with “Documation”, “DOCUHOU”, or “DOCUDFW” . . . at locations
         in the following counties . . . .

(Agreement, Dkt. 105-1, at 6). The Agreement goes on to list approximately 64 counties in which

DOCUmation is prohibited from using the “Documation” trade services name. (Id.). The name

restriction remains in place until May 1, 2022. (Id.). The Agreement also permits a non-breaching

party to take “all actions, legal and equitable” if a party breaches the terms or conditions of the

Agreement, including immediate injunctive relief or damages. The Agreement also permits the

prevailing party in any litigation resulting from such a breach to recover attorney fees and costs.

                                      B. Post-Settlement Background

         After the parties agreed to settle, DOCUmation acquired a six-year-old software company,

“DocumentWorx.” 1 DocumentWorx began doing business in 2012 in the Dallas/Fort Worth area,

and it operates in a number of counties restricted by the Agreement. DOCUmation’s acquisition of

DocumentWorx generated some degree of press. 2 For example, the San Antonio Business journal


1According to DOCUmation, it began to acquire DocumentWorx before mediating a settlement agreement with
UBEO. (Resp. Mot. Enforce, Dkt. 110, at 5–6).
2UBEO attaches seven articles or press releases as examples. These articles essentially repeat the same set of facts:
DOCUmation acquired DocumentWorx, DOCUmation changed the “DocumentWorx” name to “DocumentWorks,”


                                                           2
           Case 1:18-cv-00415-RP Document 116 Filed 01/14/19 Page 3 of 7



reported on October 31, 2018 that “San Antonio-based DOCUmation Inc. acquired a competitor in

the Dallas-Fort Worth area with plans to expand across North and East Texas markets.” (Mot.

Enforce, Exh. B, Dkt. 105-2, at 2). DOCUmation’s president is quoted as saying that the acquisition

is a “great opportunity” for DOCUmation, and that he seeks to continue “the growth we’ve

experienced in the software solutions side of the business while expanding our presence and major

account opportunities in North and East Texas.” (Id. at 4).

        At the same time, DOCUmation began the process of complying with the terms of the

Agreement. For example, DOCUmation began removing signage, changing e-mail addresses, re-

tagging machines, re-wrapping service vehicles, and re-designing websites. (See Resp. Mot. Enforce,

Dkt. 110, 4–5). Despite these efforts, some latent links between DocumentWorks and

DOCUmation remained. Specifically, UBEO identifies six instances where users are redirected from

DocumentWorks to DOCUmation directly:

        1. The Company overview of DocumentWorks on Bloomberg.com contains a link
           that redirects the reader to DOCUmation’s website.
        2. DocumentWorks’s and DOCUmation’s websites provide the same telephone
           and service number. 3
        3. From DocumentWorks’s homepage, www.documentworks.com, if a user
           requests a service call on the “Services & Supplies link, the user is directed to a
           page requesting information. If the user clicks on the “Sample Equipment ID
           Tag,” the user is shown a sample DOCUmation equipment ID tag.
        4. If a user instead clicks on the “Provide Meter Reading” link on
           DocumentWorks’s site and clicks on the “Sample Equipment ID Tag,” the user
           is again shown a sample DOCUmation equipment ID tag.
        5. If the user clicks on the “Video Tutorials” link on DocumentWorks’s site, the
           user is redirected to a 2:12 video on YouTube from DOCUmation.
        6. If the user visits the Hurst-Euless-Bedford Chamber of Commerce website,
           www.heb.org, searches “DocumentWorks,” and clicks on the “visit website”
           icon, the user is redirected to a DOCUmation website.
(See Mot. Enforce, Dkt. 105, 13–15). Each of these errors has since been corrected.

and DocumentWorks intends to operate in the DFW, Houston, and Austin markets. (See Mot. Enforce, Exhs. B–D, E–
H, Dkts. 105-2, 105-3, 105-4, 105-5, 105-6, 105-7, 105–8).
3As a result, UBEO says that if a DocumentWorks customer calls to get service, an operator answers: “Documation.”
(Mot. Enforce, Dkt. 105, at 13). DOCUmation, however, says that an operator answers: “Hello, this is (insert name
here), how may I assist you?” (Resp. Mot. Enforce, Dkt. 110, at 7).



                                                         3
            Case 1:18-cv-00415-RP Document 116 Filed 01/14/19 Page 4 of 7



         On November 20, 2018, UBEO filed an opposed motion to enforce the Agreement,

identifying each of the above as examples of how DOCUmation breached the agreement.

Specifically, UBEO contends that the press coverage of DOCUmation’s acquisition of

DocumentWorx constitutes an indirect use of the DOCUmation name in areas restricted by the

Agreement, and that DOCUmation intended to deceive the market by linking the DOCUmation

name to its newly acquired subsidiary. As relief, UBEO requests that the Court enter an order:

(1) finding that DOCUmation breached the Agreement; (2) enforcing the Agreement according to

its terms and the intent of the parties, and (3) awarding UBEO damages resulting from

DOCUmation’s breach4 plus attorney fees, costs, and other relief as the Court deems just.

                                            II. LEGAL STANDARD

         “[A] district court has inherent power to recognize, encourage, and when necessary enforce

settlement agreements reached by the parties.” Bell v. Schexnayder, 36 F.3d 447, 449 (5th Cir. 1994).

Once entered, parties typically cannot repudiate the settlement agreement. Cia Anon Venezolana De

Navegacion v. Harris, 374 F.2d 33, 35 (5th Cir. 1967). Instead, settlement agreements, “are generally

viewed as binding, final and as conclusive of the rights of the parties as is a judgment entered by the

court.” Rodriguez v. VIA Metro. Transit Sys., 802 F.2d 126, 128 (5th Cir. 1986). Ultimately, “[t]he

decision whether to grant a motion to enforce a settlement agreement is committed to the discretion

of the district court.” Weaver v. World Fin. Corp. of Tex., No. 3:09-CV-1124-G, 2010 WL 1904562, at

*2 (N.D. Tex. May 12, 2010) (citing Deville v. U.S. Dep’t of Veterans Affairs, No. 06-30252, 2006 WL

2985918, at *1 (5th Cir. 2006)).




4 UBEO does not allege any damages; it requests that “UBEO should be allowed to engage in limited discovery to
attempt to quantify, to the extent possible, its damages stemming from Defendant’s breach.” (Mot. Enforce, Dkt. 105, at
23 n.7). The Court will not permit UBEO to aimlessly wander through the field of discovery in hopes that it would
stumble upon damages without any indication that they even exist. See Leatherman v. Tarrant Cty. Narcotics Intelligence &
Coordination Unit, 28 F.3d 1388, 1396 (5th Cir. 1994).



                                                           4
           Case 1:18-cv-00415-RP Document 116 Filed 01/14/19 Page 5 of 7



        A settlement agreement is a contract, subject to the applicable rules of contract construction

and interpretation. Alford v. Kuhlman Elec. Corp., 716 F.3d 909, 912 (5th Cir. 2013). The construction

and enforcement of settlement agreements is governed by principles of state law applicable to

contracts. Lockette v. Greyhound Lines, Inc., 817 F.2d 1182, 1185 (5th Cir. 1987) (per curiam). When

construing a written contract under Texas law, a court must “ascertain the true intentions of the

parties as expressed in the writing itself.” Kachina Pipeline Co., Inc. v. Lillis, 471 S.W.3d 445, 450 (Tex.

2015). To achieve this objective, courts should “examine and consider the entire writing in an effort to

harmonize and give effect to all the provisions of the contract so that none will be rendered

meaningless.” In re Serv. Corp. Int’l, 355 S.W.3d 655, 661 (Tex. 2011) (emphasis in original). The

Court can consider “facts and circumstances surrounding a contract, including ‘the commercial or

other setting in which the contract was negotiated and other objectively determinable factors that

give context to the parties’ transaction.’” Kachina Pipeline, 471 S.W.3d at 450. Absent ambiguity, the

writing alone is deemed to express the parties’ intent. See In re El Paso Refinery, LP, 171 F.3d 249, 257

(5th Cir.1999).

                                           III. DISCUSSION

        Though styled as a motion to enforce, the only issue raised in UBEO’s motion is whether

DOCUmation breached the terms of the Agreement. Neither party disputes whether a valid

agreement exists. Under these circumstances, an action to enforce a settlement agreement is

analogous to an action for breach of contract. See Alford, 716 F.3d at 912. Under Texas law, a

plaintiff alleging breach of contract must show “(1) the existence of a valid contract; (2) performance

or tendered performance by the plaintiff; (3) breach of the contract by the defendant; and

(4) damages to the plaintiff resulting from that breach.” Villarreal v. Wells Fargo Bank, N.A., 814 F.3d

763 (5th Cir. 2016) (quoting Wright v. Christian & Smith, 950 S.W.2d 411, 412 (Tex. App.—Houston

[1st Dist.] 1997, no writ)).



                                                      5
            Case 1:18-cv-00415-RP Document 116 Filed 01/14/19 Page 6 of 7



         UBEO alleges that DOCUmation breached the Agreement by announcing through the press

that it will be doing business in the prohibited counties through its subsidiary DocumentWorks.

(Mot. Enforce, Dkt. 105, at 10–12). The Court disagrees. The Agreement prohibits DOCUmation

from directly or indirectly using the trade or service names “Documation”, “DOCUHOU”, and

“DOCUDFW” in the listed Texas counties. Nothing in the Agreement prohibits DOCUmation

from acquiring a subsidiary in those counties. Nor does the Agreement control how third parties

report on DOCUmation’s business activity. UBEO has not presented any evidence that

DOCUmation intentionally sought to use the trade name “Documation” in any prohibited area

through its media presence, or that DOCUmation could control how the media chose to report

DOCUmation’s acquisition. DOCUmation acquired a subsidiary, and media sources reported on

that acquisition independently. This falls drastically short of breaching the Agreement.

         UBEO also alleges that DOCUmation breached the Agreement by linking the two

companies through various web links or contact information. See supra 3–4. Each of these alleged

errors has been corrected since UBEO filed its motion to enforce. (See Resp. Mot. Enforce, Dkt.

110, at 6–7). Based on how quickly these errors were corrected, it is apparent that UBEO did not

first seek to conference with DOCUmation in good faith to correct these errors before filing this

motion as required by Rule 26(c)(1). 5 Further, UBEO has not alleged any damages it suffered as a

result of these errors. The Court thus finds that any relief sought by UBEO is wholly unnecessary.

                                               IV. CONCLUSION

         For the reasons given above, IT IS ORDERED that UBEO’s Motion to Enforce, (Dkt.

105), is DENIED.


5 Consistent with the Federal Rules of Civil Procedure and this Court’s Local Rules, a movant is required to certify that
they have conferenced with opposing counsel in good faith. Fed. R. Civ. P. 26(c)(1); W.D. Tex. Loc. R. CV-7(i). Counsel
has certified here. (Mot. Enforce, Dkt. 105, at 25). It is apparent, however, that UBEO’s counsel made no effort to
conduct a meaningful conference on all contested matters. (See Resp. Mot. Enforce, Dkt. 110, at 1, 6–7; Gallia E-mail,
Dkt. 110-1, at 3). If the Court continues to receive motions that contain inaccurate certification, or otherwise fail to
comply with Federal and Local Rules, it will consider whether sanctions are appropriate. See Fed. R. Civ. P. 11(c).


                                                            6
          Case 1:18-cv-00415-RP Document 116 Filed 01/14/19 Page 7 of 7



        The Agreement also provides that in an action for injunctive relief or damages as a result of

an alleged breach of the agreement, “[t]he prevailing party in any litigation resulting from such a

breach shall be entitled to recover its/his/her attorneys’ fees and costs incurred as a result of a

breach of this Agreement and all other amounts that it/he/she may be entitled to under Texas law.”

(Agreement, Dkt. 105-1). As the prevailing party, Defendants may recover their attorney fees

associated with defending UBEO’s Motion to Enforce. Accordingly, IT IS ORDERED that

Defendants submit a motion for attorney fees and costs on or before January 21, 2019.

        SIGNED on January 14, 2019.
                                               _____________________________________
                                               ROBERT PITMAN
                                               UNITED STATES DISTRICT JUDGE




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